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8                                UNITED STATES DISTRICT COURT
9                   IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   United States of America,                       )   Case No. Cr.S-15-125-GEB
                                                     )
12                  Plaintiff,                       )
                                                     )
13          vs.                                      )   STIPULATION REGARDING
                                                     )   EXCLUDABLE TIME PERIODS UNDER
14   Benjamin Macias,                                )   THE SPEEDY TRIAL ACT;
                                                     )   [PROPOSED] FINDINGS AND ORDER
15                  Defendant                        )
                                                     )
16                                                   )
                                                     )
17                                                   )
                                                     )
18                                                   )
19

20                                           CASE STATUS
21          On June 23, 2017, Attorney Jan Karowsky was appointed to represent the defendant.
22   Although defense counsel has diligently reviewed the discovery, there are extensive CD’s,
23   DVD’s and physical exhibits which must be reviewed in order effectively to advise the
24   defendant. Moreover, the defendant has raised a number of legal issues which are being
25   researched but which still require additional time for conclusions to be derived and discussed.



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1                                            STIPULATIONS
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3           Regarding the above-captioned action, Plaintiff, United States of America, by and
4    through its counsel of record, and defendant, by and through his counsel of record, hereby
5    stipulate as follows:
6           1.      By previous order, the above-captioned action was set for status conference on
7    August 11, 2017.
8           2.      By this stipulation, defendant now moves to continue the status conference in this
9    case to September 29, 2017, and to exclude time between August 11, 2017 and September 29,
10   2017, under Local Code T4. The government does not oppose this request.
11          3.      The parties agree and stipulate and request that the Court find the following:
12          a.      Counsel for defendant requires additional time to consult with his client and to
13   conduct investigation and research related to a number of relevant issues raised by the defendant
14   and needs additional time for the preparation.
15          b.      Counsel for defendant believes that failure to grant the above-requested
16   continuance would deny him the reasonable time necessary for effective preparation in the
17   pending case, taking into account the exercise of due diligence.
18          c.      The government does not object to the continuance.
19          d.      Based on the above-stated findings, the ends of justice served by continuing the
20   case for the reasons cited, as requested, outweigh the interest of the public and the defendant in a
21   trial within the original date prescribed by the Speedy Trial Act.
22          e.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,
23   et seq., within which trial must commence, the time period of August 11, 2017, to September 29,
24   2017 inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code
25   T2] because it results from a continuance granted by the Court at defendant’s request on the basis




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1    of the Court's finding that the ends of justice served by taking such action outweigh the best
2    interest of the public and the defendant in a speedy trial.
3                   4.      Nothing in this stipulation and order shall preclude a finding that other
4    provisions of the Speedy Trial Act dictate that additional time periods are excludable from the
5    period within which a trial must commence.
6    IT IS SO STIPULATED.
7    DATED:         August 9, 2017                  PHILLIP A. TALBERT
                                                    Acting U.S. Attorney
8

9
                                            By:     /s/Jan Karowsky for
10
                                                    Paul Hemesath
                                                    Assistant U.S. Attorney
11                                                  Attorney for Plaintiff

12
     DATED:         August 9, 2017                  JAN DAVID KAROWSKY
13                                                  Attorney at Law
                                                    A Professional Corporation
14
                                            By:     /s/ Jan David Karowsky
15

16
                                                    JAN DAVID KAROWSKY
17                                                  Attorney for Benjamin Macias

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19
                                                  ORDER
20
            UPON GOOD CAUSE SHOWN and the stipulation of the parties, it is ordered that
21
     the August 11, 2017 status conference hearing be continued to September 29, 2017 at 9:00 a.m..
22
     Based on the representation of defense counsel and good cause appearing therefrom,
23
     the Court hereby finds that the failure to grant a continuance in this case would deny defense
24
     counsel reasonable time necessary for effective preparation, taking into account the exercise of
25
     due diligence. The Court finds that the ends of justice to be served by granting a continuance



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1    outweigh the best interests of the public and the defendant in speedy trial. It is ordered that time
2    beginning from August 11, 2017, up to and including the September 29, 2017 status conference
3    shall be excluded from computation of time within which the trial of this matter must be
4    commenced under the Speedy Trial Act pursuant to 18 U.S.C. § 316l(h)(7)(A) and (B)(iv) and
5    Local Code T-4, to allow defense counsel reasonable time to prepare.
6    Dated: August 10, 2017
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